Case 4:21-cv-05119-SAB_ ECF No. 1-1 filed 08/23/21 PagelD.27 Page 1 of 1
CIVIL COVER SHEET 4:21-Cv-5119-SAB

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

JS44 (Rev. 12/12)

 

I. (a) PLAINTIFFS
JOSEPH B. JENSEN SR; JBJ

(b) County of Residence of First Listed Plaintiff BENTON, WA
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
N/A

 

DEFENDANTS
JOSEPH R. BIDEN JR; JAY INSLEE; ANTHONY S. FAUCI; CENTER
FOR DISEASE CONTROL AND PREVENTION; NATIONAL
INSTITUTE OF HEALTH; US FOOD AND DRUG ADMINISTRATION
County of Residence of First Listed Defendant _DISTRICT OF COLUMBIA
(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

Attorneys (if Known)

MERRICK GARLAND, ROBERT FERGUSON

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an "x" in One Box for Plainuff
(For Diversity Cases Only) and One Box for Defendant)
O11. US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Nota Party) Citizen of This State GO 1 © 1 Incorporated or Principal Place o4 o4
of Business In This State
A@ 2 US. Government O 4 Diversity Citizen of Another State O 2 O 2 Incorporated and Principal Place O5 O85
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O03 O 3. Foreign Nation o6 06
Foreign Country
IV. NATURE OF SUIT ¢Piace an “x” in One Box Only)
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
0 110 Insurance PERSONAL INJURY PERSONAL INJURY = [0 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
C120 Marine 0 310 Airplane O 365 Personal Injury - of Property 21 USC 881) |) 423 Withdrawal O 400 State Reapportionment
0 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 G 410 Antitrust
0 140 Negotiable Instrument Liability 6 367 Health Care/ O 430 Banks and Banking
© 150 Recovery of Overpayment |0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 460 Deportation
© 151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent © 470 Racketeer Influenced and
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans 0 340 Marine Injury Product GO 480 Consumer Credit
(Excludes Veterans) © 345 Marine Product Liability LABOR SOCIAL SECURITY O 490 Cable/Sat TV
OC 153 Recovery of Overpayment Liability PERSONAL PROPERTY |0) 710 Fair Labor Standards OC 861 HIA (1395ffF) 1 850 Securities/Commodities!
of Veteran's Benefits 6 350 Motor Vehicle O 370 Other Fraud Act © 862 Black Lung (923) Exchange
© 160 Stockholders’ Suits 0D 355 Motor Vehicle O 371 Truth in Lending O 720 Labor/Management O 863 DIWC/DIWW (405(2)) | 890 Other Statutory Actions
O 190 Other Contract Product Liability 1 380 Other Personal Relations © 864 SSID Title XV1 O 891 Agricultural Acts
© 195 Contract Product Liability | 360 Other Personal Property Damage 0 740 Railway Labor Act CO 865 RSI (405(g)) © 893 Environmental Matters
0 196 Franchise Injury O 385 Property Damage 6 751 Family and Medical © 895 Freedom of Information
1 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice 0 790 Other Labor Litigation O 896 Arbitration
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |0 791 Employee Retirement FEDERAL TAX SUITS OF 899 Administrative Procedure
© 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
O 220 Foreclosure O 441 Voting O 463 Alien Detainee or Defendant) Agency Decision
O 230 Rent Lease & Ejectment O 442 Employment O 510 Motions to Vacate O 871) IRS—Third Party OF 950 Constitutionality of
© 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 State Statutes
OG 245 Tort Product Liability Accommodations O 530 General
© 290 All Other Real Property O 445 Amer. w/Disabilities -| 535 Death Penalty IMMIGRATION
Employment Other: 0 462 Naturalization Application
0 446 Amer. w/Disabilities =] 540 Mandamus & Other | 465 Other Immigration
Other O 550 Civil Rights Actions
O 448 Education © 5355 Prison Condition
OF 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

1 Original
Proceeding

O12 Removed from
State Court

O 3° Remanded from

Appellate Court

42 USC 1983
Brief description of cause:

VI. CAUSE OF ACTION

 

© 4 Reinstated or

© 5 Transferred from
Another District
(specify)

0 6 Multidistrict

Reopened Litigation

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

EXECUTIVE ORDERS WITH REGARDS TO VACCINATION ARE UNCONSTITUTIONAL

 

 

 

 

VII, REQUESTED IN &) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: J Yes No
VIL RELATED CASE(S)
IF ANY (See instructions): sees .
JUDGE ee DOCKET NUMBER RECEIVED
DATE SIGNATURE OF Fe ton
G/24/Z) gp br ALIC 9 9 9094
FOR OFFICE USE ONLY , Pa é rUuM ey CULT
RECEIPT # AMOUNT APPLYING IFP JUDGE

MAG. BGK U.S. DISTRICT COURT
RICHTAND, WASHING TON —
